          Case 5:21-cv-00429-XR Document 39 Filed 12/01/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


YAZAN A. ABDEKARIM SHAREF,                       §
                                                 §
                  Plaintiff,                     §                SA-21-CV-00429-XR
                                                 §
vs.                                              §
                                                 §
RELIANCE DELIVERY COMPANY,                       §
LLC,                                             §
                                                 §
                  Defendant.                     §

                                            ORDER

       Before the Court in the above-styled cause of action is Plaintiff’s Motion for Order

Compelling Disclosure or Discovery and/or Motion for Order Striking Defensive Pleadings and

Entry of Default Judgment [#37], which was referred to the undersigned for disposition on

November 29, 2021. By his motion, Plaintiff, who is proceeding pro se, asks the Court to

compel the parties to comply with a previous order that they confer and reschedule a deposition

for a mutually agreeable date and time and requests other relief. Plaintiff’s motion was filed on

November 24, 2021, the same day the District Court denied Plaintiff’s motion for default

judgment, granted Defendant’s motion to dismiss for failure to state a claim on its merits, entered

judgment, and closed this case. It appears that Plaintiff’s motion to compel discovery and the

Clerk’s Judgment were docketed more or less simultaneously and that Plaintiff was not aware of

the closure of this case when he filed his motion. As this case is closed, Plaintiff’s motion to

compel discovery is moot.

       IT IS THEREFORE ORDERED that Plaintiff’s Motion for Order Compelling

Disclosure or Discovery and/or Motion for Order Striking Defensive Pleadings and Entry of

Default Judgment [#37] is DISMISSED AS MOOT.


                                                1
  Case 5:21-cv-00429-XR Document 39 Filed 12/01/21 Page 2 of 2




IT IS SO ORDERED.

SIGNED this 1st day of December, 2021.




                           ELIZABETH S. ("BETSY") CHESTNEY
                           UNITED STATES MAGISTRATE JUDGE




                                     2
